      Case 12-27642   Doc 36     Filed 02/11/13 Entered 02/11/13 18:42:01   Desc Main
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                                       STATES BANKRUPTCY
                               WESTERN DISTRICT OF TENNESSEE

In re:                                                            Chapter 13
DONAL MARTIN MCDONAGH & MICHELE RAWLS MCDONAGH
Debtor(s)                                                         Case No. 12-27642-K


                                     NOTICE OF HEARING

      The Chapter 13 Trustee's Motion to Dismiss Chapter 13 for Failure To Pay
having been filed by George W. Stevenson on February 11, 2013.

       NOTICE IS HEREBY GIVEN THAT:

      The Chapter 13 Trustee's Motion to Dismiss Chapter 13 Case for Failure To Pay
shall be held on 3/12/2013, at 9:00 am in the United States Bankruptcy Court, Room
600, 200 Jefferson Avenue, Memphis, Tennessee, 38103.

      Debtors should contact their attorney to see if their attendance is necessary .
This hearing may be continued or adjourned from time to time by oral announcement
(at the hearing) of the continued or adjourned date and time, without further
written notice.

                                                         /S/ George W. Stevenson
                                                         CHAPTER 13 TRUSTEE

                                      MOTION TO DISMISS
                             CHAPTER 13 CASE FOR Failure To Pay

      Comes now your Standing 13 Trustee who would show unto the Court the following
for which relief is sought:

       That the debtor failed to make payments as ordered by the Court.

      PREMISES CONSIDERED, your Trustee prays:
      1. That the matter be set for hearing.
      2. That the case be dismissed.
      3. That the Trustee be granted such other and further relief to which he or
she may be entitled.

                                                         /S/ George W. Stevenson
                                                         CHAPTER 13 TRUSTEE

CC:    George W. Stevenson

       DONAL MARTIN MCDONAGH & MICHELE RAWLS MCDONAGH
       2416 SANDERS RIDGE
       GERMANTOWN, TN 38138-6144

       JAMES D GENTRY ATTY
